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                      IN THE UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

UNITED STATES OF AMERICA                      §
                                              §
vs.                                           §          CRIMINAL NO. H-22-374-1
                                              §
TIERRA PORTER                                 §




                 TIERRA PORTER’S NOTICE OF NO OBJECTIONS TO
                     PRESENTENCE INVESTIGATION REPORT

      COMES NOW TIERRA PORTER, defendant in the above entitled and numbered cause, by and

through her court appointed attorney, BONITA DENYSE THIERRY, gives notice that there are no

objections to the Pre-Sentence Investigation Report.

                                             Respectfully submitted,



                                             /s/Bonita Denyse Thierry

                                             BONITA DENYSE THIERRY
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                                             ATTORNEY FOR THE ACCUSED,
                                             TIERRA PORTER




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                               CERTIFICATE OF SERVICE

       I, Bonita Denyse Thierry, Defense Attorney for TIERRA PORTER, do hereby certify that on

this the October 4, 2023 a copy of the foregoing, was emailed to the Assistant United States Attorney

Karen Mitchell Lansden @ karen.lansden @usdoj.gov. The office is located at 1000 Louisiana,

Suite 2300, Houston, TX 77002.

       Respectfully Submitted,



                                              /s/Bonita Denyse Thierry

                                              BONITA DENYSE THIERRY
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                                              ATTORNEY FOR THE ACCUSED,
                                              TIERRA PORTER




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